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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 IN RE APPLICATION OF THE NEW
 YORK TIMES CO. AND CHARLIE
 SAVAGE FOR ACCESS TO CERTAIN                       Case No. 22-mc-100-JEB
 DOCKETS, ORDERS, LEGAL BRIEFING,
 AND ARGUMENT TRANSCRIPTS
 ANCILLARY TO JANUARY 6 GRAND
 JURY PROCEEDINGS


                       CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 26.1, undersigned

counsel for Proposed Petitioners Bloomberg L.P., Cable News Network, Inc., The E.W. Scripps

Company, and WP Company LLC d/b/a The Washington Post hereby certify that:

       Bloomberg L.P. is a limited partnership; its general partner is Bloomberg Inc.; and no

publicly-held corporation owns 10% or more of Bloomberg L.P.’s limited partnership interests.

       Cable News Network, Inc. is ultimately a wholly-owned subsidiary of Warner Bros.

Discovery, Inc., a publicly traded corporation. Warner Bros. Discovery, Inc. has no parent

company and, to the best of Cable News Network, Inc.’s knowledge, no publicly held company

owns 10% or more of its stock.

       The E.W. Scripps Company is a publicly traded company with no parent company. No

individual stockholder owns more than 10% of its stock.

       WP Company LLC d/b/a The Washington Post is a wholly owned subsidiary of Nash

Holdings LLC, which is privately held and does not have any outstanding securities in the hands

of the public.
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Dated: August 23, 2024    Respectfully submitted,

                          BALLARD SPAHR LLP

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                          Inc., The E.W. Scripps Company, and WP Company
                          LLC d/b/a The Washington Post




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